     Case 2:17-cv-01118-DGC Document 32 Filed 04/05/18 Page 1 of 1



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 5   Attorney for Plaintiff
 6                      UNITED STATES DISTRICT COURT
 7                            DISTRICT OF ARIZONA
 8
                                        )
 9   Robert J. Baron,                   )              No. CV17-1118-PHX-DGC
                                        )
10                                      )
                                        )
11         Plaintiff,                   )
                                        )
12   v.                                 )         STIPULATION OF DISMISSAL
                                        )         WITH PREJUDICE
13   Mark A. Kirkorsky, P.C.,           )
                                        )
14                                      )
                                        )
15         Defendant.                   )
                                        )
16                                      )
17         Plaintiff and Defendant hereby stipulate to the dismissal of this
18   action with prejudice, each party to bear its own fees and costs.
19         DATED        April 2, 2018       .
20
21     s/ Floyd W. Bybee                          s/ Mark A. Kirkorsky
     Floyd W. Bybee, #012651                    Mark A. Kirkorsky
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